 1   BRIAN E. WASHINGTON, COUNTY COUNSEL
     Brandon W. Halter, Deputy, SBN 289687
 2   3501 Civic Center Drive, Ste. 275
     San Rafael, CA 94903
 3   Tel.: (415) 473-6117
     Fax: (415) 473-3796
 4   bhalter@marincounty.org
 5   Attorneys for Defendant
     COUNTY OF MARIN
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                                     UNITED STATES DISTRICT COURT
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                                   NORTHERN DISTRICT OF CALIFORNIA
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11   SEAPLANE ADVENTURES, LLC, a California                   Case No.: 20-cv-06222-WHA
     Limited Liability Company
12                                                            DECLARATION OF MARIN COUNTY
                                                              AIRPORT MANAGER DAN JENSEN IN
13                 Plaintiff,                                 SUPPORT OF DEFENDANT COUNTY OF
                                                              MARIN’S MOTION FOR SUMMARY
14          v.                                                JUDGMENT
15   COUNTY OF MARIN, CALIFORNIA; AND                         Complaint filed: September 2, 2020
     DOES 1 THROUGH 10, Inclusive,
16                                                            Date:       October 7, 2021
                                                              Time:       8:00 AM
17                 Defendant.                                 Judge:      Honorable William Alsup
                                                              Dept:       Courtroom 12, 19th Floor
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20          I, DAN JENSEN, declare as follows:
21           1.    I am employed by the County of Marin (“County”) as the Airport Manager for the Marin
22   County Airport (also known as Gnoss Field, “Airport”). I submit this declaration in support of
23   County’s motion for summary judgment. I have personal knowledge of the contents of this declaration.
24   If called as a witness, I could and would competently testify to the matters set forth in this declaration.
25           2.    I have been employed as the Airport Manager for the Airport continuously since 2011.
26   The Airport is owned and operated by County. As the Airport Manager, I manage, coordinate, and
27   oversee daily operations at the Airport.
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        DECLARATION OF MARIN COUNTY AIRPORT MANAGER DAN JENSEN IN SUPPORT OF DEFENDANT
                        COUNTY OF MARIN’S MOTION FOR SUMMARY JUDGMENT
                                   USDC Case No. 20-cv-06222-WHA
 1           3.    In 2020, County (through its Public Health Officer, Dr. Matthew Willis) issued a number
 2   of health orders and other guidance in response to the COVID-19 pandemic. I understand that the
 3   terms of those health orders and other guidance applied to all individuals and businesses in Marin
 4   County, including the individuals and businesses at the Airport. In connection with my duties as
 5   Airport Manager, I generally reviewed the terms of the health orders at the time they were issued.
 6           4.    I understand that County did not (and does not) have the resources to inform and then
 7   actively monitor every individual and business in Marin County to ensure compliance with all the
 8   various terms of these orders. Given this limitation, I understand that County relied on outreach and
 9   publicity efforts to maximize the effectiveness of these health orders. In addition, I understand that
10   County relied on individuals and business throughout Marin County, including at the Airport, to
11   comply in good faith with the terms of these orders. Finally, as a third component of its outreach
12   efforts, I understand that County relied on reports from the public and/or businesses to identify
13   potential violations of these orders.
14           5.    To my knowledge, every business at the Airport complied with the terms of the health
15   orders issued by County. I never received any report, nor did I ever otherwise learn, that any business
16   or individual operating at the Airport was acting in violation of any of the terms of the health orders
17   issued by County.
18           6.    I understand that one of the businesses that operated out of the Airport—Skydive Golden
19   Gate, a skydiving tour business—communicated with County staff in May and June 2020 regarding
20   whether the health orders in effect at that time permitted them to resume operations. I further
21   understand that after conferring with Dr. Willis and County Counsel, County staff informed Skydive
22   Golden Gate that it could not resume its operations under the terms of the health orders in effect at that
23   time. I am not aware of any indication that Skydive Golden Gate ever conducted any operations at the
24   Airport in 2020 after these communications.
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26            I declare under penalty of perjury under the laws of the State of California that the foregoing is
27   true and accurate to the best of my knowledge
28          Executed on August 27, 2021, in San Rafael, California.
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        DECLARATION OF MARIN COUNTY AIRPORT MANAGER DAN JENSEN IN SUPPORT OF DEFENDANT
                        COUNTY OF MARIN’S MOTION FOR SUMMARY JUDGMENT
                                   USDC Case No. 20-cv-06222-WHA
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 2                                          By:         _________________________
                                                   Daniel Jensen
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     DECLARATION OF MARIN COUNTY AIRPORT MANAGER DAN JENSEN IN SUPPORT OF DEFENDANT
                     COUNTY OF MARIN’S MOTION FOR SUMMARY JUDGMENT
                                USDC Case No. 20-cv-06222-WHA
